Case 4:13-cv-00010-SEB-WGH Document 51 Filed 12/05/13 PageAcknowledged.
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                       UNITED STATES DISTRICT COURT       Date: 12/05/2013
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION                           _______________________________
                                                                                 SARAH EVANS BARKER, JUDGE
                                                                                 United States District Court
                                                    :                            Southern District of Indiana
  Adam Waters,
                                                    :
                                                    :
                         Plaintiff,                   Civil Action No.: 4:13-cv-00010-SEB-WGH
                                                    :
         v.
                                                    :
                                                    :
  Versatile Marketing Solutions, Inc. d/b/a/
                                                    :
  Alliance Home Protection; and DOES 1-10,
                                                    :
  inclusive,
                                                    :
                                                    :
                         Defendants.
                                                    :

                                  STIPULATION OF DISMISSAL

         WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

  the complaint in this action, and have negotiated in good faith for that purpose; and

         WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

  person; and

         WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

         IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

  respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

  is hereby dismissed in its entirety with prejudice and without costs to any party.

   Adam Waters                                   Versatile Marketing Solutions, Inc. d/b/a/
                                                 Alliance Home Protection

   ___/s/ Amy L. Cueller________                 __/s/ Elizabeth M. Ellis__________

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   Attorney for Plaintiff                        Attorney for Defendant

 _____________________________
Copies to:
 SO ORDERED

Electronically registered counsel of record via ECF.
